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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
   Robert W. Stone (Bar No. 163513)
 2   robertstone@quinnemanuel.com
   555 Twin Dolphin Drive, 5th Floor
 3 Redwood Shores, California 94065
   Telephone:    (650) 801-5000
 4 Fax:          (650) 801-5100

 5 Adam B. Wolfson (Bar No. 262125)
     adamwolfson@quinnemanuel.com
 6 50 California Street, 22nd Floor
   San Francisco, California 94111
 7 Telephone:     (415) 875-6600
   Fax:           (415) 875-6700
 8
   Attorneys for Defendant Corcept Therapeutics, Inc.
 9
   DUANE MORRIS LLP
10 Lucas C. Wohlford (admitted Pro Hac Vice)
   100 Crescent Court, Suite 1200
11 Dallas, TX 75201
   Telephone: +1 214 257 7200
12 Facsimile: +1 214 257 7201
   E-Mail: lwohlford@duanemorris.com
13
   Attorney for Defendant Optime Care Inc.
14
   [Additional Counsel Listed On Signature Page]
15

16                              UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN JOSE DIVISION

19
     TEVA PHARMACEUTICALS USA, INC.,                Case No. 5:24-cv-03567-BLF
20
                  Plaintiff,                        Honorable Beth Labson Freeman
21
           vs.                                      DEFENDANTS’ REPLY IN SUPPORT OF
22                                                  JOINT MOTION TO DISMISS PLAINTIFF’S
     CORCEPT THERAPEUTICS, INC., et al.,            FIRST AMENDED COMPLAINT WITH
23                                                  PREJUDICE
                  Defendants.
24                                                  Hearing Date: February 20, 2025 at 9:00 a.m.

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                                                                     Case No. 5:24-cv-03567-BLF
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 1                                      PRELIMINARY STATEMENT

 2           Teva’s Opposition (Dkt. 65, “Opp.”) glaringly fails to respond to many of the arguments and

 3 authorities in Defendants’ motion to dismiss (Dkt. 55, “MTD”). The “focus” of Teva’s claims is a

 4 single agreement that Corcept has with a single, small specialty pharmacy: Optime. Oct. 31, 2024

 5 Hrg. Tr. at 4:7. Teva is trying to dress that single agreement with a single pharmacy into an “exclusive

 6 dealing” claim by alleging it somehow blocks any opportunity for Teva to compete. That effort is

 7 entirely implausible, and Teva does not cite a single case supporting such a theory.

 8           Teva admits that Optime is just one possible distributor in a marketplace full of options. Teva

 9 admits it can and does distribute its product through numerous other pharmacies—specialty and retail,

10 regional and national. Of course, Teva could also provide benefits beyond medication (as Teva admits

11 Corcept does), engage with a new pharmacy channel (as Corcept did with Optime), or cultivate other

12 channels of distribution. Under both the case law (which Teva misstates) and common sense, these

13 undeniable facts doom Teva’s exclusive dealing claim. A single contract with just one of many

14 available actual or potential distributors does not foreclose competition or give rise to antitrust liability.

15           Teva’s Orange Book allegations also fail, including because they concern conduct that is more

16 than four years old and are thus time-barred. Teva’s allegations also fail to establish antitrust injury

17 from the Orange Book conduct, notwithstanding Teva’s efforts to contradict its own admissions and

18 the FDA’s website regarding Corcept’s seven years of FDA-awarded Orphan Drug Exclusivity. Teva

19 likewise fails to establish antitrust injury for the period after Corcept’s ODE expired, as it establishes

20 nothing other than that Teva made its own choice to delay entering the market after that expiration.

21           Teva’s sham litigation theory also fails. Its claims based on seven of the nine patents are

22 clearly time-barred because Corcept sued Teva over those patents outside the four-year limitations

23 period in this case. Nor does Teva overcome the Noerr-Pennington immunity that protects Corcept’s

24 suits over all of the nine patents. While Teva makes a bare-bones attempt to invoke the “Hynix test”

25 that would allow even non-sham litigation to be included as part of an overall anticompetitive scheme,

26 it does not and cannot meet the test’s requirements, even assuming that test is cognizable. Teva also

27 fails to establish antitrust injury from the alleged sham litigation, as Teva’s entry was separately

28 barred by ODE, and Teva does not explain how Corcept’s later suits that caused Teva no FDA stay,

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 1 much less those suits that came after Teva received FDA approval, somehow delayed Teva’s entry.

 2          Teva’s theory that Corcept “bribed” prescribers to prescribe Corcept’s Korlym over Teva’s

 3 generic also fails. Teva argues that Corcept makes more speaker payments than other companies, but

 4 that is wrong and in any case does not plausibly establish those payments were illicit bribes.

 5 Separately, Teva’s allegations that Corcept’s payments materially harmed competition are the very

 6 definition of conclusory and thus fail under Ninth Circuit law.

 7          Confirming the weakness of its four state law claims, Teva relegates its “defenses” of them to

 8 the last page of its brief. Once again, Teva largely ignores Defendants’ arguments and authorities.

 9          Teva’s claims should be dismissed with prejudice. Defendants pointed out many of these flaws

10 in their prior motions to dismiss, Teva’s first amended complaint (Dkt. 39, “FAC” and “¶”) did

11 nothing to address them, and its opposition identifies no curative facts it could add through amendment.

12                                               ARGUMENT

13 I.       TEVA’S EXCLUSIVE DEALING SHERMAN ACT CLAIMS FAIL

14          A.      Corcept’s Agreement With A Single Pharmacy Does Not Foreclose Competition

15          First, Teva’s assertion that “Defendants do not dispute” that “Korlym is in a [relevant] market

16 of its own” is false and irrelevant. Opp. at 2, 8. Even accepting Teva’s market definition allegations

17 as true for now, its claims fail since it cannot plausibly establish that Corcept’s contract with a single

18 small pharmacy foreclosed Teva from that alleged relevant market. MTD at 17–20; infra at 2–5.

19          Second, while Teva admits “alternative channels” exist in its alleged market and must be

20 considered in the foreclosure analysis, it oddly insists that the Court should disregard the existence of

21 any distributor other than Optime. Teva argues that “alternative distribution channels are relevant

22 only if they are practically effective” in allowing the plaintiff to reach end-users, and that its failure

23 to capture market share using these other channels means they are not. Opp. at 10. But that is not the

24 law. The relevant inquiry for assessing alternative channels is not whether a competitor has had past

25 success selling through those channels, but whether there are barriers preventing consumers from

26 freely choosing those channels. See Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 403–04 (3d

27 Cir. 2016) (foreclosure question “is not about which products a consumer chooses to purchase, but

28 about which products are reasonably available to that customer” such that “if customers are free to

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 1 switch to a different product . . . but choose not to do so, competition has not been thwarted—even if

 2 a competitor remains unable to increase its market share.”). Thus, a plaintiff’s “own inability to

 3 exploit” an alternative channel “does not indicate harm to competition” or that the alternative channel

 4 should be disregarded. PNY Techs., Inc. v. SanDisk Corp., 2014 WL 2987322, at *9 (N.D. Cal. July

 5 2, 2014). The foreclosure analysis “does not require competitors to be able to succeed in alternative

 6 channels; it merely requires them to have the opportunity to succeed.” Church & Dwight Co. v. Mayer

 7 Lab’ys, Inc., 868 F. Supp. 2d 876, 915 (N.D. Cal. 2012) (partially vacated on other grounds).

 8          Teva alleges only that it has not succeeded as much as it would like with its chosen

 9 distributors. That is not enough to state an antitrust claim. Teva makes no plausible allegations

10 explaining why the only possible choice to distribute its product is Optime, and why every other

11 pharmacy that exists could not suffice (indeed, Corcept distributed Korlym through a different

12 pharmacy, Dohmen, before Optime). Instead, Teva resorts to conclusory buzzwords like

13 “entrenched,” “sticky,” and “switching costs.” Opp. at 12–13. But what Teva means is left unsaid—

14 for example, what “switching costs” do prescribers face? And even assuming, as Teva suggests, that

15 prescribers are used to writing prescriptions through Optime, so what? No antitrust claim makes

16 illegal what prescribers “get used to.” Teva never describes, much less alleges, how that affects

17 consumer choice. For example, Teva does not explain how a patient that wants Teva’s supposedly

18 discounted generic cannot get it—if a patient requests Teva’s generic and asks their prescriber,

19 insurer, and/or non-Optime pharmacy for it, then what? The FAC does not say, which matters because

20 Teva’s complaint must “plausibly suggest a lack of alternative distribution channels” for its generic.

21 Int’l Constr. Prod. LLC v. Caterpillar Inc., 2016 WL 264909, at *5–6 (D. Del. Jan. 21, 2016)

22 (dismissing exclusive dealing claim as conclusory where plaintiff “simply concludes—without any

23 relevant factual support—that it is deprived of ‘any feasible way to reach consumers’”).

24          Ninth Circuit law makes clear that “foreclosure of even a large percentage of one mode of

25 distribution”—here, allegedly, Optime—“will have little anticompetitive effect if another mode is

26 available.” Omega Env’t, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1163 (9th Cir. 1997). The mere fact

27 of Teva’s difficulties with other existing channels so far does not mean they are unavailable and that

28 Teva must be allowed to sell through Optime. Were that right, the Ninth Circuit’s exclusive dealing

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 1 pronouncements that a defendant “does not have to share the fruits” of its labor, “existing or potential

 2 alternative channels of distribution” must be considered, and competitors “are free to sell directly” or

 3 “to develop alternative distributors” would make no sense. Id. at 1663. Teva boasts it has access to

 4 other “wholesalers,” “distributors,” and “pharmacies.” (¶158.) Teva’s silence as to why it cannot sell

 5 through CVS, Walgreens, Dohmen (the pharmacy Corcept used for years before Optime), develop its

 6 own pharmacy channel (as Corcept did with Optime), or sell its generic in other ways speaks volumes.

 7          Third, Teva largely ignores or miscites Defendants’ authorities and also misstates its own

 8 cited cases. Defendants cited case law explaining that the “existence of a single exclusive dealing

 9 arrangement with a distributor is insufficient.” MTD at 18 (citing, e.g., Maximum Availability). Teva

10 does not acknowledge this authority at all. Instead, Teva’s cases involve situations where a defendant

11 has entered into a web of exclusive agreements with multiple distributors that together substantially

12 “lock up” entire channels (not just a single distributor in that channel). Tevra Brands LLC v. Bayer

13 HealthCare LLC, 2024 WL 1909156, at *1 (N.D. Cal. May 1, 2024) (multiple “retailers and

14 distributors”); United States v. Microsoft Corp., 253 F.3d 34, 68 (D.C. Cir. 2001) (“all the leading”

15 internet providers); ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 267 (3d Cir. 2012) (“all heavy

16 duty truck manufacturers”); United States v. Dentsply Int’l, Inc., 399 F.3d 181, 189 (3d Cir. 2005)

17 (multiple “key dealers”); Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1023 (N.D. Cal. 2015)

18 (“panoply” of mobile device manufacturers); United States v. Google LLC, 2024 WL 3647498, at *95

19 (D.D.C. Aug. 5, 2024) (multiple web browsers and substantially “all Android devices”); LePage’s

20 Inc. v. 3M, 324 F.3d 141, 157–58 (3d Cir. 2003) (at least seven “large customers”); United States v.

21 Visa U.S.A., Inc., 344 F.3d 229, 242 (2d Cir. 2003) (“horizontal restraint adopted by 20,000

22 competitors”). That is a far cry from here, where Teva challenges one contract with one pharmacy

23 (i.e., one distributor in a single channel), while acknowledging, as it must, that other pharmacies and

24 channels are available and not subject to any exclusivity requirement at all.

25          Teva’s efforts to distinguish Defendants’ cited cases fall flat. Opp. at 14. For example, Teva

26 suggests that the Omega decision provides Defendants “no help because it is a post-trial decision[.]”

27 Id. Yet, many of the decisions that Teva relies on—e.g., Microsoft, Dentsply, Google, and LePage’s—

28 are post-trial decisions. Omega lays out the legal standard that Teva cannot meet, and there is no

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 1 reason to ignore that legal standard. Indeed, Omega’s holding that there is no substantial foreclosure

 2 if “competitors can reach the ultimate consumers” by “alternative channels” applies at the pleading

 3 stage. See Hip Hop Beverage Corp. v. Monster Energy Co., 733 F. App’x 380, 381 (9th Cir. 2018).

 4 While Teva argues Omega featured “undisputed evidence,” Teva makes no plausible allegations that

 5 provide a basis to exclude the alternatives that Teva admits exist. See PNY Techs., Inc. v. SanDisk

 6 Corp., 2014 WL 1677521, at *7–8 (N.D. Cal. Apr. 25, 2014) (citing Omega and dismissing exclusive

 7 dealing claim as plaintiff “does not explain why” alternative channels insufficient).

 8          B.      Teva’s Other “Considerations” Do Not Save Its Exclusive Dealing Claims

 9          Teva asserts that “considerations” like the duration of the Corcept-Optime deal, the deal’s

10 terminability provisions, and alleged “coercive” behavior support Teva’s exclusive dealing claims.

11 Opp. at 14–17. As an initial matter, Teva’s failure to plausibly establish substantial foreclosure, see

12 supra Section I.A., itself requires dismissal of Teva’s exclusive dealing claims. See Nicolosi Distrib.,

13 Inc. v. FinishMaster, Inc., 2018 WL 4904918, at *4–5 (N.D. Cal. Oct. 9, 2018) (Freeman, J.) (claim

14 dismissed due to admission other “distributors exist,” without reaching length of contracts).

15          Teva’s assertion that “the exclusive arrangement has been in place for “more than seven years”

16 since 2017 misleadingly ignores the actual duration of the contracts. Opp. at 14. It elsewhere

17 acknowledges that the original agreement was in effect for five years until 2022, then renewed for

18 two years until 2024, and then renewed in 2024 for a three-year term. (¶¶137–38.). But Teva does not

19 respond to Defendants’ cited authority, which explains that three or even five-year contracts do not

20 automatically foreclose competition. MTD at 19–20 (citing W. Parcel and Pro Search). Teva suggests

21 that notwithstanding these temporal terms, the agreements are “de facto long term.” Opp. at 15. But

22 Teva’s cited case, Tevra, does not help it, as that case involved credible claims that retailers and

23 distributors were de facto precluded from distributing the defendant’s rival products because they

24 “would lose millions” and “not be able to profitably sell” if they did so. 2024 WL 1909156, at *1.

25 Yet, Teva alleges the opposite here—it claims “Optime could potentially make more money by

26 distributing Teva’s generic” (¶139), which belies its “de facto” theory.

27          Teva’s allegations of “coercive” behavior are similarly misguided. Opp. at 15–17. Teva never

28 explains, for example, how an allegedly “one-sided” termination provision means a freely-negotiated

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 1 agreement is the product of coercion. Teva also pleads “[o]n information and belief” that Optime is

 2 “heavily dependent on its relationship” with Corcept. (¶146.) Even if that were true, that could be

 3 said of nearly any distributor subject to an exclusive deal during the life of that agreement. As another

 4 of Defendants’ unrebutted, cited cases confirms, what matters is whether customers are “free to seek

 5 other” suppliers “at the conclusion of the contracts.” MTD at 20 (citing Indeck). The actual operative

 6 contract confirms that freedom exists for both Optime and Corcept. § 14, Ex. F to MTD. Teva asks

 7 the Court to ignore the contract anyway, based on hearsay from some unidentified Optime employees

 8 that supposedly said during an alleged meeting that “Optime . . . was not allowed to distribute Teva’s

 9 product, no matter what terms Teva might propose.” (¶139.) That is wholly insufficient to state a

10 claim. See Shire US, Inc. v. Allergan, Inc., 375 F. Supp. 3d 538, 558 (D.N.J. 2019) (dismissing

11 exclusive dealing claim based on statement from “unnamed person” that challenged deal meant plan

12 could not deal with plaintiff in the future due to supposed exclusive dealing arrangement, as unclear

13 unnamed person “had authority” to make statement or that statement not negotiation posturing).

14          C.      Teva’s Exclusive Dealing Claims Are Time-Barred

15          Finally, Teva fails to explain how its Optime claims are timely. Opp. at 17–20. Contrary to

16 Teva’s statement, “statute of limitations defenses are appropriately considered on a motion to

17 dismiss.” Bay Area Surgical Mgmt. LLC v. Aetna Life Ins. Co., 166 F. Supp. 3d 988, 999 (N.D. Cal.

18 2015) (Freeman, J.). As discussed infra in Sections II.A. & III.A., Teva’s assertions as to accrual, the

19 speculative damages exception, FDA approval, and the continuing violations doctrine all fail.

20 II.      TEVA’S ORANGE BOOK SHERMAN ACT CLAIMS FAIL

21          Teva’s assertion that Defendants “do not dispute that” Corcept “improperly listed” its ’348

22 and ’495 patents in the Orange Book is false. MTD at 4 (Corcept listed patents as statute required).

23 Teva’s problem is that its claims fail on other grounds even if its listing allegations are credited.

24          A.      Teva’s Orange Book Claims Are Time-Barred

25          Corcept listed the ’348 and ’495 patents in the Orange Book on January 27, 2015 and on

26 November 28, 2017, respectively. (¶82.) That is years before June 13, 2020—the start of the four-

27 year limitations period preceding Teva’s filing of this case—making Teva’s Orange Book claims

28 time-barred. MTD at 7. Teva’s arguments to the contrary fail. Opp. at 22–23.

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 1          First, Teva cannot invoke the “speculative damages” exception, which provides that “if harm

 2 is ‘uncertain’ or ‘speculative’ at the time of the antitrust violation,” then the “limitations period begins

 3 on the date that the plaintiff’s damages first accrued and became ascertainable.” Samsung Elecs. Co.

 4 v. Panasonic Corp., 747 F.3d 1199, 1204 (9th Cir. 2014). The FAC does not contain any such

 5 allegations regarding supposedly speculative damages. See Perrigo Co. v. AbbVie Inc., 2022 WL

 6 2870152, at *5 n.12 (3d Cir. July 21, 2022) (disregarding speculative damages assertions not in

 7 complaint). Samsung and Oliver also do not—contrary to Teva’s statement—involve “FDA approval”

 8 at all or save its claims. Opp. at 22–23. Rather, they involved SD card licensing deals, explained “the

 9 key question” “is whether the existence of the harm is determinable, not the specific dollar of that

10 harm,” and noted it was unclear whether the plaintiffs would ever enter the market. Samsung, 747

11 F.3d at 1204–05; Oliver v. SD-3C LLC, 751 F.3d 1081, 1086–87 (9th Cir. 2014). Accepting Teva’s

12 own allegations, the Orange Book harm—delayed entry—was determinable by March 2018, when

13 Corcept sued over the listed patents, triggering the 30-month stay of Teva’s FDA application, and

14 just prior to when Teva claims it was ready to and would have entered. (¶79); Perrigo, 2022 WL

15 2870152, at *4–5 (antitrust claim dismissed and speculative damages exception inapt, claim accrued

16 and non-speculative harm felt when manufacturers sued generic over patents, triggering stay).

17          Second, Teva misstates the law in arguing it could not have sued on its Orange Book claims

18 prior to obtaining FDA approval and entering the market “because it would have been unable to show

19 antitrust injury and causation.” Opp. at 23. Teva claims it was delayed in obtaining FDA approval

20 because of Corcept’s Orange Book conduct. In such circumstances, the absence of FDA approval

21 does not bar an antitrust claim. Teva knows this, having itself brought—prior to obtaining FDA

22 approval—antitrust counterclaims against a branded manufacturer over Orange Book listings and the

23 ensuing the 30-month stay. See Abbott Lab’ys v. Teva Pharms. USA, Inc., 2022 WL 34347571, Case

24 No. 02-cv-1512 (D. Del.), Dkt. 20 at ¶¶ 103, 107, 163–66 (pgs. 20–22, 26, 37) (Teva’s counterclaims).

25          Teva’s cited cases do not say otherwise. Opp. at 23. Aventis Pharma S.A. v. Amphastar

26 Pharms., Inc., acknowledges that, notwithstanding the lack of FDA approval, an antitrust claim may

27 lie where there is “misconduct by” the defendant that “caused the FDA not to approve [the plaintiff’s]

28 generic.” 2009 WL 10674453, at *2–3 (C.D. Cal. May 15, 2009); see also Aventis, 2009 WL 8727693,

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 1 at *14 (C.D. Cal. Feb. 17, 2009) (prior order in same case, confirming “lack of FDA approval does

 2 not bar causation or damages per se.”). That is what Teva claims Corcept’s Orange Book listings did

 3 here. The Third Circuit’s decision in Ethypharm S.A. France v. Abbott Lab’ys, is also inapt, as it

 4 assessed whether a foreign manufacturer was a “competitor in the market” so as to have antitrust

 5 standing to sue where it sold through a domestic distributor, and actually noted that where, like here,

 6 a manufacturer already submitted information “for FDA approval,” it had standing. 707 F.3d 223,

 7 225–31, 236 n.20 (3d Cir. 2013); see also Perrigo, 2022 WL 2870152, at *3 n.7, *4–5, *5 nn. 11–12

 8 (post-Ethypharm case determining lack of FDA approval does not bar generic from bringing claims).

 9          Third, the “continuing violation” doctrine does not render Teva’s Orange Book claims timely.

10 Opp. at 23. Teva’s argument that supposed acts during the limitations period related to alleged

11 exclusive dealing, bribes, and sham lawsuits “restart the clock” as to its Orange Book claims

12 misconstrues the doctrine. A “plaintiff cannot use an independent, new act as a bootstrap to” recover

13 for “other predicate acts that took place outside the limitations period.” Klehr v. A.O. Smith Corp.,

14 521 U.S. 179, 181, 189 (1997). Thus, for each new overt act, “a cause of action accrues to. . . recover

15 the damages caused by that act.” Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321, 338

16 (1971). Teva does not dispute that it neither alleges nor challenges any Orange Book-related conduct

17 during the limitations period. Therefore, Teva raises no new Orange Book-related claim that accrued

18 in the last four years. That Teva purports to “also allege, additional later” acts during the limitations

19 period does not “alter that [the] statute of limitations has run” on its stale Orange Book claims.

20 Stanislaus Food Prod. Co. v. USS-POSCO Indus., 2010 WL 3521979, at *15–17 (E.D. Cal. Sept. 3,

21 2010) (antitrust claim dismissed as time-barred, continuing violation doctrine inapplicable).

22          B.      Teva’s Allegations of Orange Book-Related Antitrust Injury Are Implausible

23          Teva claims Corcept’s Orange Book conduct caused a 30-month delay of Teva’s FDA

24 approval until August 2020. Opp. at 21–22. Analyzing Teva’s Orange Book allegations temporally

25 makes clear why they fail to plausibly establish antitrust injury.

26          Pre-February 2019. Teva does not dispute that a regulatory bar to a plaintiff’s market entry

27 defeats antitrust injury because that bar—not the defendant’s challenged conduct—is the source of

28 the plaintiff’s exclusion from the market. MTD at 7–9; Opp. at 21. Teva weakly suggests that no such

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 1 bar existed here. That is wrong: independent from whatever Teva claims Corcept did as to the Orange

 2 Book, Teva could not have obtained FDA approval prior to February 2019 because the FDA

 3 separately awarded Corcept seven years of ODE until that time. Teva therefore could not have

 4 suffered any antitrust injury from Corcept’s Orange Book conduct prior to February 2019.

 5          Teva’s only responses are that the FDA silently cancelled Corcept’s ODE by not mentioning

 6 it in a form letter sent to Teva (though supposedly required to do so by a CFR regulation) and that an

 7 antitrust plaintiff “need not rule out all possible alternative sources of injury.” Opp. at 21–22. Neither

 8 response passes muster. As to the former, Teva provides zero authority for the implausible proposition

 9 that the FDA somehow silently canceled its grant of ODE by neglecting to mention it in a single letter

10 that was sent to Teva (not even to Corcept). Nor does Teva respond to the fact that in binding

11 admissions in the parties’ underlying patent litigation, Teva acknowledged Corcept’s ODE was in

12 effect through February 2019. MTD at 8. Nor does Teva engage with the reality that the FDA’s public

13 website—which Teva does not dispute the Court can consider now—confirms the “Exclusivity End

14 Date” for Corcept’s ODE was February 17, 2019. MTD at 8 & Ex. E. Teva’s claim that Corcept’s

15 ODE was cancelled is thus wholly implausible.

16          Teva’s handwaving that the Orange Book conduct was an “alternative[] source[] of injury”

17 notwithstanding the separate ODE bar makes no sense as to the pre-February 2019 period. If Teva

18 were right, then an entire body of law—like the First, Third, and Eighth Circuits’ RSA, Wellbutrin,

19 and Canadian Import decisions about separate regulatory bars—would be wrong. In re Wellbutrin

20 XL Antitrust Litig., 868 F.3d 132, 165 (3d Cir. 2017). Teva does not and cannot make that claim.

21          February 2019–August 2020. Teva also misstates Defendants’ arguments that Teva does not

22 plausibly establish antitrust injury from the Orange Book conduct for the remaining post-ODE period

23 between February 2019 and August 2020. Opp. at 21–22. For Teva to have suffered cognizable harm

24 from any delay of its final FDA approval until August 2020, Teva must plausibly allege that it would

25 have otherwise entered prior to August 2020 had it received final approval earlier. Defendants’ point

26 is that Teva’s allegations on this front are “implausible, unsupported, and undermined by its own

27 conduct.” MTD at 9. While Teva baldly asserts that “Teva would have launched as early” as October

28 2018 “or shortly thereafter” (¶79), Teva alleges no facts—such as business plans, readiness, or

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 1 affirmative steps towards launching—that make this allegation non-conclusory. Aventis, 2009 WL

 2 8727693, at *14–15. If anything, that Teva in the actual world waited more than three years to launch

 3 after receiving final FDA approval renders implausible its claim that in the but-for world, Teva would

 4 have nonetheless launched as soon as it received final FDA approval in 2018 “or shortly thereafter.”

 5 III.     TEVA SHAM LITIGATION SHERMAN ACT CLAIMS FAIL

 6          A.     Teva’s Claims Based On Seven of the Nine At-Issue Patents Are Time-Barred

 7          Teva admits Corcept sued over the ’348 and ’495 patents in March 2018, the ’526 patent in

 8 July 2018, the ’214, ’242, and ’243 patents in February 2019, and the ’216 patent in December 2019.

 9 (¶¶76, 116, 120.) Because Corcept sued over these seven patents before June 13, 2020—the start of

10 the limitations period here—Teva’s claims based on these seven patents (i.e., all but the two ’800 and

11 ’801 patents) are untimely. MTD at 9, 11. Teva’s arguments to the contrary fail. Opp. at 27–28.

12          First, as explained in Section II.A., the speculative damages exception does not help Teva.

13 Teva’s FAC (as distinct from its opposition brief), contains no allegations as to speculative damages.

14 The gravamen of Teva’s sham litigation claims is that Corcept’s patent lawsuits delayed Teva’s FDA

15 approval and launch, and the first suit in March 2018 is what triggered the 30-month stay. Opp. at 27;

16 (¶76.) In such circumstances, non-speculative injury is inflicted—and a sham claim accrues—“when

17 the lawsuit, which is alleged to have been a sham, is filed.” Perrigo, 2022 WL 2870152, at *4–5

18 (sham claim properly dismissed and speculative damages exception inapplicable). Teva’s cases do

19 not say otherwise. See supra Section II.A. (discussing Aventis, Ethypharm, Samsung, and Oliver).

20          Second, Teva misstates the law in arguing that a sham litigation claim does not accrue and

21 cannot be brought until there is “proof that the litigation was unsuccessful, which can only be

22 determined upon the termination of the initial action.” Opp. at 28. Teva has brought sham litigation

23 counterclaims before the underlying patent litigation alleged to have been a sham has concluded.

24 Abbott, 2002 WL 34347571, Case No. 02-cv-1512 (D. Del.), Dkt. 20 at ¶¶ 137–166 (pgs. 30–37).

25          Teva’s only support for its about-face is a single district court opinion from another circuit,

26 Chemi SpA v. GlaxoSmithLine, 356 F. Supp. 2d 495, 500 (E.D. Pa. 2005). However, Chemi SpA cites

27 no caselaw and has been criticized on that basis. Med. Mut. of Ohio, Inc. v. Braintree Lab’ys, 2011

28 WL 2708818, at *4 & n.10 (D. Del. July 12, 2011). And in a later decision, the Third Circuit explained

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 1 “sham litigation claims generally accrue” and resulting injury is felt “at the time that the lawsuit

 2 alleged to have been a sham was filed.” Perrigo, 2022 WL 2870152, at *4 n.10, *4–5. Other courts

 3 have held the same. Al George, Inc. v. Envirotech Corp., 939 F.2d 1271, 1274 (5th Cir. 1991).

 4          Moreover, while Teva criticizes Corcept’s citation to the Ninth Circuit’s decision in Pace

 5 Industries, Inc. v. Three Phoenix, Teva does not dispute that Pace holds “the initiation of judicial

 6 proceedings is the last overt act” for statute of limitations proceedings where the “judicial process” is

 7 supposedly used anticompetitively. 813 F.2d 234, 237–239. Other Circuits have relied on Pace to

 8 determine that a sham litigation antitrust claim accrues at the time the alleged sham lawsuit was filed.

 9 Perrigo, 2022 WL 2870152, at *4 n.10 (citing Pace); Al George, 939 F.2d at 1274–75.

10          Third, the continuing violation doctrine does not save Teva’s sham litigation claims based on

11 Corcept’s pre-2020 assertion of seven of the nine patents. Opp. at 28. Teva’s claim that “[e]ach suit

12 between 2018 and 2023 . . . restarted the clock on all of Teva’s patent litigation claims” is wrong.

13 Seven of the nine patents were asserted by December 2019, which is before the limitations period

14 (June 2020), so Teva’s claims based on them are late and cannot “restart” themselves. Nor does

15 Corcept’s suit over the two remaining patents (’800 and ’801) in 2023 or non-sham litigation conduct

16 during the limitations period revive Teva’s sham claims based on the initial seven patents. As

17 discussed above in Section II.A., Zenith, Klehr, and Stanislaus confirm that, at best, the continuing

18 violation doctrine creates new causes of action as to new and overt, limitations period acts—it does

19 not resuscitate old claims or allow a plaintiff to “bootstrap” those claims to potentially timely ones.

20          B.      Noerr-Pennington Immunity Bars Teva’s Claims, and No Exception Applies

21          Teva fails to establish the “sham” or “series” exceptions to Noerr-Pennington immunity apply.

22          Series Exception. Teva does not respond to Defendants’ arguments about the exception’s

23 unavailability in antitrust cases involving the Hatch-Waxman Act, there being too few suits to be a

24 “series” (e.g., under Relevant), and no allegations of a “crushing burden.” MTD at 14–15.

25          ’348 and ’495 Patents. Teva argues that because the ’348 and ’495 patents supposedly “do

26 not have a direct read” or “express connection” to the Korlym label (¶99), Corcept’s suit over them

27 is “automatically a sham.” Opp. at 24. But Teva’s entire argument is based on its selective citation to

28 and misinterpretation of a single statement of one Corcept employee, which in any event does not

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 1 plausibly allege Teva’s product would not have infringed the ’348 or ’495 patents. MTD at 10–11.

 2          Teva’s arguments about the import of the denial of its motion to dismiss Corcept’s claims also

 3 fail. Opp. at 24. While Teva cites its own allegations characterizing that order, it does not address: (1)

 4 the order’s language finding “a factual dispute that” required “expert input and claim construction”;

 5 (2) Defendants’ argument that denial of Teva’s motion means the claims were plausible and thus not

 6 frivolous; or (3) Defendants’ cases finding a claim that survives a motion to dismiss is not a sham.

 7 MTD at 11. Teva cites In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., but that

 8 case addressed whether a defendant’s failure to file a dismissal motion means the claim is not a sham

 9 (not the significance of the denial of an actually-filed dismissal motion). 383 F. Supp. 3d 187, 232

10 (S.D.N.Y. 2019). Nor does Teva address Corcept’s technical expert disclosures as to its infringement

11 theories as to these patents, which the inventors then detailed in their depositions. MTD at 11.

12          ’526, ’242, ’243, ’216, and ’801 Patents. Teva’s arguments as to the “five other patents . . .

13 that Corcept asserted and then voluntarily dismissed” likewise fail. Opp. at 24. Teva points to one

14 conclusory allegation as to why assertion of these patents was a sham (¶120); that is insufficient.

15 MTD at 12–13 (collecting cases). Moreover, Teva lost its motion to dismiss the ’526 patent claim.

16 Corcept Therapeutics, Inc. v. Teva Pharms. USA, Inc., 2018 WL 5263278, at *2 n. 2, *4 (D.N.J. Oct.

17 23, 2018). In addition, there are many reasons why a party may choose to dismiss a claim, and Teva’s

18 cited cases do not actually hold that doing so means the claim is a sham. See IPtronics Inc. v. Avago

19 Techs. U.S., Inc., 2015 WL 5029282, at *7–8 (N.D. Cal. Aug. 25, 2015) (party’s “own expert admitted

20 that the evidence was insufficient to demonstrate infringement”); Keurig, 383 F. Supp. 3d at 231–32

21 (unlike here, plaintiffs “detail” why patent claims sham); Netflix, Inc. v. Blockbuster, Inc., 2006 WL

22 2458717, at *3, *8 (N.D. Cal. Aug. 22, 2006) (pre-Twombly, applying Conley pleading standard).

23          ’214 and ’800 Patents. Teva does not dispute that the ’214 patent survived Teva’s summary

24 judgment motion, and the ’214 and ’800 patents both proceeded all the way to trial. Teva argues that

25 surviving a summary judgment motion “does not always conclusively” mean the underlying claim is

26 not a sham. Opp. at 26. Teva’s one cited case, In re Relafen Antitrust Litig., acknowledges that

27 “several courts, including the Federal Circuit, have suggested that denial of a summary judgment

28 motion precludes a finding of objective baselessness” but found “the specific circumstances here

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 1 compelled a different conclusion.” 346 F. Supp. 2d 349, 362–63 (D. Mass. 2004). Teva provides no

 2 explanation of why such unusual circumstances are present here (they are not), and Teva does not

 3 address Corcept’s cited cases—Gen-Probe, Harris, and Twin City—at all. MTD at 13.

 4          Teva also harps on Corcept’s trial loss, which is on appeal. But it misrepresents the court’s

 5 trial ruling, which nowhere states the claims were “shams.” While Teva points out the court did not

 6 find “credible record evidence” of prior infringement, Opp. at 25, it omits the court’s

 7 acknowledgement that Corcept submitted sworn post-trial declarations from medical professionals

 8 attesting to past infringement and ruling that past infringement is “not required” to succeed on an

 9 induced infringement claim. Corcept Therapeutics, Inc. v. Teva Pharms. USA, Inc., 709 F. Supp. 3d

10 138, 154, 156 n.6 (D.N.J. 2023). As to future infringement, Teva glosses over the court’s finding it

11 was “not likely,” which means not impossible. Id. at 156–57; Pro. Real Est. Invs., Inc. v. Columbia

12 Pictures Indus., Inc., 508 U.S. 49, 65 (1993) (suit not sham where plaintiff “had some chance of

13 winning”). That Corcept was unsuccessful at trial does not mean the claims were shams. Id. at 61 n.5.

14          C.     The “Hynix Test” Does Not Save Teva’s Sham Litigation Claims

15          Teva argues that even if Corcept’s patent suits “were not shams,” they are still actionable as

16 “part of a larger anticompetitive scheme.” Opp. at 26–27. Teva cannot invoke the limited “Hynix

17 test.” See Hynix Semiconductor Inc. v. Rambus, Inc., 527 F. Supp. 2d 1084, 1088 (N.D. Cal. 2007);

18 Arista Networks, Inc. v. Cisco Sys. Inc., 2018 WL 11230167, at *9 (N.D. Cal. May 21, 2018).

19          To the extent the Hynix test is even cognizable, Aventis, 2009 WL 8727693, at *6 n.7, Teva

20 does not meet it. For example, the test’s “first step” requires Teva to show actionable “exclusionary

21 conduct” aside from its claims based on the patent litigation. Arista, 2018 WL 11230167, at *12. Teva

22 claims its “exclusive dealing and bribery” allegations suffice. Opp. at 26–27. But as Defendants have

23 explained, those theories fail to state a Sherman Act claim, so Teva fails step one.

24          Teva also fails step two of Hynix, which requires that the challenged litigation be “‘causally

25 connected’ to the disputed anticompetitive conduct discussed in step one.” Arista, 2018 WL

26 11230167, at *14. While Teva contends Corcept’s patent litigation bought it “time alone on the

27 market” which allowed it to “entrench,” “fortify,” and “shor[e] up” the alleged exclusive dealing and

28 bribery conduct, Opp. at 27, that is conclusory, would render step two meaningless by erasing the

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 1 causal connection requirement, and gets it backwards. The suit must be a “mechanism” to “carry out”

 2 or further the non-litigation conduct. Arista, 2018 WL 11230167, at *14 (lawsuit was enforcement

 3 tool for “open early, closed late scheme”); Hynix, 527 F. Supp. 2d at 1098 (defendant deceived as to

 4 its patent rights, then brought litigation “to extract royalties”); Realtek Semiconductor Corp. v.

 5 MediaTek, Inc., 2024 WL 1975478, at *8 n.7 (N.D. Cal. May 3, 2024) (Hynix “applies only where

 6 the core of the alleged anticompetitive scheme” is not petitioning and “litigation is simply a means of

 7 furthering that core conduct.”). Teva does not explain how—and cannot establish that—Corcept’s

 8 patent litigation against Teva is the enforcement mechanism for Corcept’s alleged exclusive dealing

 9 with Optime (the “focus” of Teva’s case) or Corcept’s payments to prescribers. That is dispositive.

10          D.     Teva Fails to Plausibly Establish Antitrust Injury from Alleged Sham Litigation

11          Teva’s assertions that it suffered antitrust injury from sham litigation also fail. Opp. at 27.

12 First, Corcept’s assertion of the ’348 and ’495 patents against Teva in March 2018 cannot cause

13 antitrust injury through at least February 2019 because a separate regulatory bar (Corcept’s ODE)

14 prevented Teva’s entry, and Teva’s allegations as to the post-ODE period are implausible. MTD at

15 7–10; supra Section II.B. Second, to the extent Teva claims Corcept’s assertion of five other patents

16 in 2018 and 2019 and the two patents in 2023 delayed Teva’s entry, those claims fail. It was Corcept’s

17 March 2018 suit over the ’348 and ’495 patents that triggered a stay, not Corcept’s later assertion of

18 these other patents. MTD at 12–14. Moreover, Teva provides no explanation as to how Corcept’s

19 2023 claims as to the ’800 and ’801 patents delayed Teva’s entry given that when Corcept asserted

20 those patents, Teva had had final FDA approval for years. Id. at 13. Finally, to the extent Teva, even

21 after receiving final FDA approval in 2020, chose to wait to launch until 2024 rather than launch “at

22 risk,” Teva cannot attribute antitrust injury to any of Corcept’s patent claims. MTD at 9–10, 12–14.

23 IV.      TEVA’S BRIBERY SHERMAN ACT CLAIMS FAIL

24          A.     Teva’s Allegations that the Payments Are Illicit “Bribes” Are Implausible

25          Teva’s claims that Corcept’s payments to prescribers were illicit “bribes” hinge on what it

26 asserts is “an extensive analysis of publicly available payment and prescription data.” Opp. at 28–29.

27 But Teva does not dispute that the same data it points to facially characterizes these payments as ones

28 for speaker, consulting, honoraria, and related food/travel fees. MTD at 20; Opp. at 29. Defendants’

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 1 argument—which Teva flatly misstates—is that against this undisputed backdrop, Teva alleges

 2 nothing that plausibly raises the inference that Corcept’s payments are anything other than for the

 3 proper payment of these fees, which Teva itself makes and defends as lawful.

 4          Defendants’ motion cited caselaw, CFR regulation, and Office of Inspector General guidance

 5 describing the factors used to determine whether speaker and similar fees are proper or illicit. MTD

 6 at 21–22. Teva’s opposition does not dispute that: (1) these are the sorts of factors courts, regulators,

 7 and prosecutors consider in assessing whether speaker and similar payments are proper or not; (2)

 8 courts (e.g., Novartis) have dismissed as implausible allegations that speaker payments (like those at

 9 issue here) are “bribes” even where a plaintiff included allegations as to at least some of these factors;

10 and (3) Teva’s FAC includes no allegations bearing on any of these factors. This is fatal.

11          Teva’s claim that “Defendants ignore” allegations that Corcept’s payments “are astronomical

12 and far outside the norm” is also false, and in any case irrelevant. Opp. at 29. Defendants’ motion

13 pointed out—and Teva does not dispute—that Teva itself made many more payments (both in number

14 and total dollar amount) than Corcept in the same period, and each of Teva’s “top 10 payment

15 recipients” received multiple times more than Corcept’s “top 10 payment recipients.” MTD at 21.

16 Corcept’s payments are therefore not “far outside the norm.” And even if they were, Teva cites no

17 authority for the proposition that a pharmaceutical company’s paying more to speakers in comparison

18 to other companies raises the inference of anything untoward. If it did, Teva would apparently be

19 admitting that its own speaker and similar payments (which far outpace Corcept’s) are illicit bribes.

20          Teva’s assertion that its bribery allegations are “reinforced by” “investigative journalists,” “a

21 securities class action,” and a U.S. Attorney’s Office “investigation” is also wrong. Opp. at 28–29.

22 Defendants’ motion addressed each of these points. MTD at 23–24. Teva’s opposition does not

23 engage with Defendants’ arguments or cited authorities at all.

24          B.      Teva’s Allegations of Sporadic Payments Do Not Establish Harm to Competition

25          Teva’s arguments as to harm to competition from the alleged bribes also miss the mark. Citing

26 out-of-circuit opinions, Teva asserts that “[n]umerous courts have held that bribery can implicate the

27 Sherman Act[.]” Opp. at 29. But Teva does not address the Ninth Circuit’s ruling that “commercial

28 bribery, standing alone, does not constitute a violation of the Sherman Act.” Calnetics Corp. v.

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 1 Volkswagen of Am., Inc., 532 F.2d 674, 687 (9th Cir. 1976). Defendants’ point—which Teva’s cited

 2 cases confirm—is that the alleged bribery must “hobble competition.” See Opp. at 30 (citing cases).

 3          Contrary to Teva’s suggestion, the mere payment of alleged bribes “does not support an

 4 inference that the bribes restrained competition.” Fed. Paper Bd. Co. v. Amata, 693 F. Supp. 1376,

 5 1383 (D. Conn. 1988). Teva must plausibly allege that the alleged bribes did materially harm

 6 competition, and its allegations on this front are entirely lacking. Teva admits it does not actually

 7 allege how many prescribers or prescriptions were actually subject to or influenced by the alleged

 8 improper bribes (either as a percentage or in absolute terms). Opp. at 6 (data is “limited”). While Teva

 9 quibbles that these are details about “the extent of the scheme,” they are necessary at the pleading

10 stage to plausibly establish that the supposed bribes actually impacted competition.1 And as to Teva’s

11 handwaving that it “is entitled to” discovery to “uncover” the details, the Ninth Circuit has confirmed

12 Teva has it backwards: a plaintiff must first satisfy Rule 8 and 12(b)(6) with well pleaded allegations

13 to advance to discovery, rather than “rely on anticipated discovery” to state a claim, a “procedure”

14 that “especially makes sense” in “antitrust cases.” Whitaker v. Tesla Motors, Inc., 985 F.3d 1173,

15 1177 (9th Cir. 2021); Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987).

16 V.       TEVA’S STATE LAW CLAIMS ALL FAIL

17          UCL. Teva’s only defense of its UCL claim is that stating a Sherman Act claim also states a

18 claim under the UCL’s unlawful and unfair prongs. Opp. at 30. But Teva’s argument says nothing

19 about the other statutes on which its UCL claim purports to rely (e.g., Cal. Penal Code § 641.3 and

20 Cal. Ins. Code § 1871.7), which Defendants addressed in their motion. Moreover, even assuming

21 Teva has stated a claim under the Sherman Act—and it has not, as explained supra—that does not

22 suffice. The UCL also requires that a plaintiff “allege the lack of an adequate legal remedy[.]” Forrett

23 v. Gourmet Nut, Inc., 634 F. Supp. 3d 761, 768–69 (N.D. Cal. 2022) (Freeman, J.). Teva’s UCL claim

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     1
25       While Teva baldly refers to supposed payments more broadly, the only allegations of specific

26 payments Teva actually makes are to six prescribers. (¶¶174–83.) While even these allegations that

27 payments to these six prescribers were bribes are implausible and should be disregarded, supra

28 Section IV.A., they are, at best, the only allegations of specific payments that the Court can consider.

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 1 must be dismissed because it nowhere makes this allegation, much less explains why legal remedies

 2 are inadequate, and Teva failed in its opposition to address Defendants’ arguments on this point.

 3          Section 16600. Teva’s sole response to Defendants’ arguments as to Teva’s Section 16600

 4 claim based on the Corcept-Optime agreement is that “Section 16600 has been applied in cases

 5 considering agreements to secure monopolies or fix prices—the sort of context addressed by section

 6 1 of the Sherman Act.” Opp. at 30. But Teva does not assert claims for conspiracy to monopolize or

 7 price-fixing. Teva’s citation to Meta Platforms, Inc. v. BrandTotal Ltd. is also inapt, as it omits both

 8 the rest of the citation explaining that such Section 16600 claims are “subject to the rule of reason,”

 9 and the case’s holding that the Section 16600 claim failed for lack of harm to competition. 605 F.

10 Supp. 3d 1218, 1250 (N.D. Cal. 2022). That is Defendants’ unrebutted point here. MTD at 27–28.

11          Omnibus Antitrust and Consumer Protection. Teva argues its omnibus claim is

12 “adequately pled because Teva has been clear about what wrongdoing has allegedly been committed

13 by Defendants.” Opp. at 30. That is a non sequitur. Defendants do not seek dismissal of Teva’s claim

14 on the grounds that its gravamen—the failed exclusive dealing and bribery allegations—is unclear.

15 Instead, Teva’s claim fails since it violates Rule 8 in that it consists solely of: (1) a non-exhaustive,

16 non-committal list of at least 85 different “exemplar” statutes; without (2) allegations as to which

17 specific provision of each statute Teva claims Defendants violated; (3) identification of the specific

18 elements of each statute; or (4) facts demonstrating those elements are met for each statute. MTD at

19 28–29. This Court and others have dismissed state law tag-along claims that provide no further

20 specificity or no “attempt to set forth facts showing that claims lie under each of those laws.” MTD

21 at 28 (citing Los Gatos, Revlimid, Chavez). Teva does not respond to these arguments or authorities.

22          Teva’s only cited case, Staley v. Gilead Scis., Inc., does not help it. Excusing a plaintiff from

23 identifying—and pleading facts to satisfy—the “specific requirements of each state’s” laws is not the

24 standard that this Court (in Los Gatos, Vance, and Nexus 6P, MTD at 28–30) and others have applied.

25 Moreover, Staley held that if a defendant “believes that specific elements . . . have not been met,”

26 then it “is their obligation to identify those specific elements.” 446 F. Supp. 3d 578, 633 (N.D. Cal.

27 2020). Defendants submit it is Teva’s burden—not Defendants’—to identify the elements of each

28 statute Teva seeks to invoke and explain why those elements are met, but Defendants have identified

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 1 specific defects as to those elements. MTD at 28–29. Teva’s opposition addresses none of this.

 2          Unjust Enrichment. Teva does not engage with any of Defendants’ arguments or authorities

 3 regarding its unjust enrichment claim. MTD at 29–30. It simply asserts that its unjust enrichment

 4 claim can proceed since its FAC includes “antitrust claims under the Sherman Act.” Opp. at 30. For

 5 one, Teva has not adequately stated a Sherman Act claim. Moreover, Teva’s argument would mean

 6 that every Sherman Act claim also gives rise to an unjust enrichment claim, which is not the law.

 7          Teva’s citation to a single case—In re TFT-LCD (Flat Panel) Antitrust Litig.—does not save

 8 its unjust enrichment claim. Only an unjust enrichment claim under California law was at issue in that

 9 case. 2011 WL 4345435, at *3 (N.D. Cal. Sept. 15, 2011). But where, as here, a plaintiff asserts an

10 unjust enrichment claim under the laws of multiple states (in Teva’s case, all states), “Plaintiffs must

11 identify and plead the elements of unjust enrichment for each state,” which Teva does not do. Los

12 Gatos Mercantile, Inc. v. E.I. DuPont De Nemours & Co., 2014 WL 4774611, at *11 (N.D. Cal. Sept.

13 22, 2014) (Freeman, J.); MTD at 29–30. Even as to California law, TFT addresses only whether an

14 unjust enrichment claim may nonetheless “proceed under a different title,” such as for quasi-contract

15 and/or restitution. 2011 WL 4345435, at *3–4. That is undisputed; Defendants’ point is that under a

16 quasi-contract and/or restitution theory—how California courts construe an unjust enrichment

17 claim—Teva pleads no contract between Teva and Defendants (quasi or otherwise), or any basis for

18 restitution (since Teva provided no direct benefit to Defendants, such as payment of a specific sum

19 of money that should be returned). MTD at 30. Courts addressing these issues (which TFT and Teva

20 do not) hold that they bar an unjust enrichment claim under California law. Id.

21 VI.      TEVA’S CLAIMS SHOULD BE DISMISSED WITH PREJUDICE

22          Teva should not be granted leave to amend because it has already amended once and further

23 amendment would be futile. MTD at 30. While Teva asserts it “should be given leave to amend” if

24 Defendants’ motion “is granted in any respect,” Opp. at 30, it “fail[s] to state what additional facts

25 [it] would plead if given leave to amend.” Koller v. Monsanto Co., 2023 WL 8429796, at *6 (N.D.

26 Cal. Dec. 4, 2023) (cleaned up). Teva’s claims, and this case, should therefore be dismissed for good.

27                                             CONCLUSION

28          For the foregoing reasons, the Court should dismiss Teva’s claims and this case with prejudice.

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 1 DATED: November 25, 2024
                                          By:      /s/ Robert W. Stone
 2
                                             QUINN EMANUEL URQUHART & SULLIVAN, LLP
 3
                                             Robert W. Stone (Bar No. 163513)
 4                                             robertstone@quinnemanuel.com
                                             555 Twin Dolphin Drive, 5th Floor
 5                                           Redwood Shores, California 94065
                                             Telephone:    (650) 801-5000
 6                                           Fax:          (650) 801-5100

 7                                           Adam B. Wolfson (Bar No. 262125)
                                               adamwolfson@quinnemanuel.com
 8                                           50 California Street, 22nd Floor
                                             San Francisco, California 94111
 9                                           Telephone:     (415) 875-6600
                                             Fax:           (415) 875-6700
10
                                             Steig D. Olson (admitted pro hac vice)
11                                             steigolson@quinnemanuel.com
                                             51 Madison Avenue, 22nd Floor
12                                           New York, New York 10010
13                                           Telephone:    (212) 849-7000
                                             Fax:          (212) 849-7100
14
                                             Attorneys for Defendant Corcept Therapeutics, Inc.
15

16                                        By:        /s/ Lucas C. Wohflord
17                                           Lucas C. Wohlford (admitted Pro Hac Vice)
                                             DUANE MORRIS LLP
18                                           100 Crescent Court, Suite 1200
                                             Dallas, TX 75201
19                                           Telephone: +1 214 257 7200
                                             Facsimile: +1 214 257 7201
20                                           E-Mail: lwohlford@duanemorris.com

21                                           Justin J. Fields (SBN 259491)
                                             DUANE MORRIS LLP
22                                           Spear Tower
23                                           One Market Plaza, Suite 2200 San Francisco, CA
                                             94105-1127
24                                           Telephone: +1 415 957 3000
                                             Facsimile: +1 415 957 3001
25                                           E-Mail: jfields@duanemorris.com
26                                           Attorneys for Defendant Optime Care Inc.
27

28

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 1                            CIVIL LOCAL RULE 5-1 ATTESTATION

 2          I, Robert W. Stone, am the ECF user whose credentials were utilized in the electronic filing

 3 of this document. In accordance with Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in

 4 the filing of this document has been obtained from each of the signatories listed above.

 5

 6 DATED: November 25, 2024

 7

 8
                                                 By          /s/ Robert W. Stone
 9                                                    Robert W. Stone

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11

12                                      CERTIFICATE OF SERVICE

13          I hereby certify that on this 25th day of November 2024, I electronically transmitted the

14 foregoing document to the Clerk’s Office using the CM/ECF System, causing it to be electronically

15 served on all attorneys of record.

16

17                                               By          /s/ Robert W. Stone
18                                                    Robert W. Stone

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